    Case 2:07-md-01873-KDE-MBN Document 14432 Filed 06/18/10 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
                                NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                      MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                             SECTION “N-5"

                                                         JUDGE ENGELHARDT
                                                         MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Avants, et al. v. Alliance Homes, Inc., et al.,
EDLA Case No. 09-6173

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            SUPPLEMENTAL EXHIBIT “A” TO PLAINTIFFS’ COMPLAINT
                   PURSUANT TO PRETRIAL ORDER NO. 53

       In compliance with Pretrial order 53 (Rec. Doc. 9073), plaintiffs hereby file their

Supplemental Exhibit “A” to their Complaint to match the plaintiffs to their correct

Manufacturer Defendants and Contractor/Installer Defendants.


       In addition to the information previously submitted, plaintiffs attach hereto a

Supplemental Exhibit “A” and incorporate same by reference herein.


                                                  Respectfully submitted:

                                                  GAINSBURGH, BENJAMIN, DAVID,
                                                  MEUNIER & WARSHAUER, L.L.C.

                                                  BY:    _s/Justin Woods
                                                         GERALD E. MEUNIER, #9471
                                                         JUSTIN I. WOODS, #24713
                                                         2800 Energy Centre
                                                         1100 Poydras Street
                                                         New Orleans, Louisiana 70163
                                                         Telephone: 504/522-2304
                                                         Facsimile:    504/528-9973
                                                         gmeunier@gainsben.com
                                                         jwoods@gainsben.com
    Case 2:07-md-01873-KDE-MBN Document 14432 Filed 06/18/10 Page 2 of 4



                                          CERTIFICATE OF SERVICE

         I hereby certify that on June 18, 2010, I electronically filed the foregoing with the Clerk of Court by using

the CM/ECF system which will send a notice of electronic filing to all counsel of record who are CM/ECF

participants. I further certify that I mailed the foregoing document and the notice of electronic filing by first-class

mail to all counsel of record who are non-CM/ECF participants.

                                                      s/Gerald E. Meunier
                                                      GERALD E. MEUNIER, #9471
    Case 2:07-md-01873-KDE-MBN Document 14432 Filed 06/18/10 Page 3 of 4




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                                SUPPLEMENTAL EXHIBIT A


Annie Avants -         Cavalier Home Builders, LLC., Cavalier Homes, Inc.; After due diligence,
                       contractor currently unknown

Oze Avants, III -      Cavalier Home Builders, LLC., Cavalier Homes, Inc.; After due diligence,
                       contractor currently unknown

Betty Brown -          Waverlee Homes, Inc.; Fluor Enterprises, Inc.

Jennifer Buchanan - CMH Manufacturing, Inc.; Fluor Enterprises, Inc.

Isaiah Buchanan -      CMH Manufacturing, Inc.; Fluor Enterprises, Inc.

Joyce Coleman -        After due diligence, manufacturer currently unknown; Shaw
                       Environmental, Inc.

Andria Corio -         After due diligence, manufacturer and contractor currently unknown

Geryal Davis -         Lakeside Park Homes, Inc.; Shaw Environmental, Inc.

Darrell Fortenberry - Jayco Enterprises, Inc.; Shaw Environmental, Inc.

Jalisa Fortenberry -   Jayco Enterprises, Inc.; Shaw Environmental, Inc.

Emile George -         Sunnybrook RV, Inc.; Shaw Environmental, Inc.

Willie Jackson -       After due diligence, manufacturer and contractor currently unknown
   Case 2:07-md-01873-KDE-MBN Document 14432 Filed 06/18/10 Page 4 of 4




Johnny Johnson -    After due diligence, manufacturer and contractor currently unknown

Cynthia Kelly -     Jayco Enterprises, Inc.; Shaw Environmental, Inc.

Otis Kelly -        Jayco Enterprises, Inc.; Shaw Environmental, Inc.

Tammy Roshto -      Cavalier Home Builders, LLC., Cavalier Homes, Inc.; Fluor Enterprises,
                    Inc.

Joseph Roshto -     Cavalier Home Builders, LLC., Cavalier Homes, Inc.; Fluor Enterprises,
                    Inc.

Genea Spongia -     Cavalier Home Builders, LLC., Cavalier Homes, Inc.; Fluor Enterprises,
                    Inc.

Demetri Tendell -   After due diligence, manufacturer and contractor currently unknown

Willie Tenner -     Gulf Stream Coach, Inc.; Fluor Enterprises, Inc.

Alvin Smith -       After due diligence, manufacturer and contractor currently unknown
